Case 2:23-cv-06150-EK-ARL Document 16 Filed 09/08/23 Page 1 of 1 PageID #: 145




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
ATD TECHNOLOGY LLC, MERZENA
RAGHURAI,

                                   Plaintiffs,
                                                                   ORDER
                 -against-                                         CV 23-6150 (EK) (ARL)

ALVIN RAGHURAI, ANNE RAGHURAI,
TAYLORED STAFFING, INC.,

                                    Defendants.
---------------------------------------------------------------X
LINDSAY, Magistrate Judge:


        Completion and filing of the attached form is the first step in the scheduling process and

is mandatory. This Rule 26(f) Report shall be submitted to the Court by October 10, 2023.




Dated: Central Islip, New York                               SO ORDERED:
       September 8, 2023
                                                                           s/
                                                             ARLENE ROSARIO LINDSAY
                                                             United States Magistrate Judge
